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UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2025-30155
      ALLIANCE FARM AND RANCH, LLC and Alliance Energy Partners, LLC



      Case Type :                    bk
      Case Number :                  2025-30155
      Case Title :                   ALLIANCE FARM AND RANCH, LLC and Alliance Energy Partners,
                                     LLC
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